                                                                                      Motion GRANTED.
                                                                                      Extensions as requested.

                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE MIDDLE DISTRICT OF TENNESSEE
                                     NASHVILLE DIVISION

BLEU COPAS,                                        )
                                                   )
         Plaintiff,                                )      Case No.: 3:17-cv-01447
v.                                                 )
                                                   )
BILL HASLAM, in his official capacity              )
as GOVERNOR OF THE STATE OF                        )
TENNESSEEE                                         )
                                                   )
         Defendant.                                )


                          JOINT MOTION FOR ENLARGEMENT OF TIME

         By and through their counsel of record, the parties jointly request that this Court, (a)

enlarge the time for the parties to conduct discovery; and (b) extend all deadlines in the Initial

Case Management Order (Case Management Order, D.E. No. 26) by sixty (60) days. In support

of this request, the parties state that:

         1.          The Court’s Initial Case Management Order provides that discovery must be

completed on or before December 1, 2018 and dispositive motions are due on or before January

15, 2019. (Case Management Order, D.E. No. 26).

         2.          Defendant propounded its First Set of Interrogatories and Request for Production

of Documents to Plaintiff on July 27, 2018, to which Plaintiff provided timely responses.

         3.          Plaintiff propounded his First Set of Interrogatories, Request for Production of

Documents, and Requests for Admission to Defendant on August 29, 2018, to which Defendant

timely responded.

         4.          The parties are in the process of scheduling deposition dates, but are unable to do

so before the December 1, 2018, deadline in the Court’s Initial Case Management Order.




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